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Exhibit A

 
 

 

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COURT OF APPEALS

STATE OF NEW YORK

PROPLE,
Respondent,

-against-—
No. 72
RAPHAFL GOLB,

Appellant.

20 Kagle Street
Albany, New York 12207
March 25, 2014
Before:

CHIEF JUDGE JONATHAN LIPPMAN
ASSOCIATE JUDGE VICTORIA A. GRAEFEO
ASSOCIATE JUDGE SUSAN PHILLIPS READ

ASSOCIATE JUDGE ROBERT S$. SMITH
ASSOCIATE JUDGE EUGENE F. PIGOTT, JR.

ASSOCIATE JUDGE JENNY RIVERA

ASSOCIATE JUDGE SHEILA ABDUS-SALAAM

Appearances:

RONALD L. KUBY, ESQ,
LAW OFFICE OF RONALD L. KUBY
Attorney for Appellant
119 West 23rd Street, Suite 900
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VINCENT RIVELLESE, ADA
NEW YORK COUNTY DISTRICT ATTORNEY'S OFFICE
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One Hogan Place, Room 654
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Karen Schiffmiller
Official Court Transcriber

 
 

 

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CHIEF JUDGE LIPPMAN: 72, People v. Golb.

Counselor, do you want any rebuttal time?

MR. KUBY: I'll take three, if you would,
Judge, okay?

CHIEF JUDGE LIPPMAN: Three minutes, you
have it, go ahead.

MR. KUBY: Thank you so much. May it
please the court, my name if Ron Kuby. And this case
presents the question of whether communicating under
the name of another real persen, an act of literary
impersonation becomes the crime of fraud simply
because the writer intends some benefit from his or

her writing or intends some harm, as a result of his

or her writing, regardless of whether that benefit -

JUDGE SMITH: Can - —- - can this - - - are
you really saying that this legal for - ~ - for you
to take - - - to send e-mails in my name confessing
to the assassination of President Kennedy or
whatever. You can do that?

MR. KUBY: Great news, Judge, in your name,
no, because you're the government. And the
government - - - I recognize you're a branch of the

government, but an important one, and the government

Simulation of court process, official judicial

 

 

 

 
 

 

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imprimatur is different.
JUDGE SMITH: Okay, well - - - so you're
saying - - - but - - - but when I'm not the

government next January, you can do it?

MR. KUBY: I wouldn't, but it would not be
criminal. Would it be rude and boorish? Yes. Would
you have a remedy for this - - -

JUDGE GRAFFRO: Well, what if - - - what if

somebody loses their employment because their

‘that they're not doing, because they - - - they've
been represented om the Internet as taking certain
positions or engaging in certain activities that they
didn't authorize.

MR. KUBY: JI understand that. And - - -

JUDGE GRAFFEO: That's net - - - that's not
criminal?

MR. KUBY: Well - - -

JUDGE GRAPFRO: I mean, there can be some
serious financial and employment and personal
ramifications?

MR. KUBY: Well, yes, there could be, and -
- - and when you're taiking about generalized
reputational damage, I lost my job for this discreet

sum of money because this person said these things

 

 

employers think that they're engaged in some activity

 

 

 
 

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about me, there is a civil remedy.

CHIEF JUDGE LIPPMAN: Where - - - where
does it cross over into criminal? Where - - - where
would it be in this kind of situation that - - - that
you're dealing with? What - - - what - - - what

would your client have done that would have made it
criminal - - -

MR. KUBY: Oh, oh, oh.

CHIEF JUDGE LIPPMAN: - - - as opposed to
what he did now?

MR. KUBY: Easy. He writes, takes the
Lawrence Schiffman e-mail.

CHIEF JUDGE LIPPMAN: Right.

MR. KUBY: Sends an e-mail to the - - —- the
bursar at NYU saying, you know, because I stole
Norman Gelb's theory and so much of my success is
dependent on Norman Golb, please deposit ten percent
of my salary inte Norman Golb's checking account.

CHIEF JUDGE LIPPMAN: So it's got to be a
direct economic benefit? That's criminal.

MR. KUBY: Well, if - - - if there is a
direct economic benefit, or economic harm, it is
criminal.

CHIEF JUDGE LIPPMAN: What if - - -

JUDGE PIGOTT: You're saying it's a

 

 

 

 

 

 
 

 

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larceny.

MR. KUBY: Right. Or in this case, it
would be standard as - - - as you put it, Judge
Smith, good oid fashioned fraud.

CHIEF JUDGE LIPPMAN: Okay, that's. one
eriminal - - - that's one thing he could have done.
What else could he have done that's criminal? We
have a whole bunch of charges here. What else would
have been a criminal act in a context of what we're
dealing with here?

MR. KUBY: He - - - for example, he wants
his father to show up at a particular lecture and
doesn't want Schiffman to be at a particular lecture,
so he takes his Lawrence Schiffman e-mail address,

sends the airlines a note, saying I'm canceling my

reservation. You lose the value of the plane ticket.
Tot - - - clearly, exactly the type - - -
JUDGE RIVERA: And if - - - and if someone

disinvites him because of the barrage of e-mails?
MR. KUBY: I'm sorry?
JUDGE RIVERA: Is that - - - if someone
disinvites the speaker, and they lose - 7
MR. KUBY: Then that begins - - -
JUDGE RIVERA: - - - the financial benefit

and the reputational benefit of the invitation.

 

 

 
 

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MR. KUBY: Well, how is that any different
from the type of public criticism that public folks
go through every single day? There - - -

JUDGE SMITH: Well, because you lie - - -
because there's a lie. Because you're - - - you're

deceiving people into believing that this is Mr.

Schiffman and it's not.

MR. KUBY: Well, that's right, Judge. But
that - - - unfortunately, we're - - -

JUDGE SMITH: Why - - - why - - - I mean,

does it make sense that you say it could be criminal
to cancel a guy's plane reservation - - -

MR. KUBY: Right.

JUDGE SMITH: - - - using his name, but it
- - - but it's not to destroy his reputation?

MR. KUBY: Well, again, it depends how you
destroy somebody's reputation. If you destroy
somebody's reputation by sending out this false
confession that is directly linked to the true

account of plagiarism, and people read that and say,

oh, my God, Lawrence Schiffman, in fact, is a
plagiarist, if you - - - if you tease them in by the
use of - - - of the Schiffman name, and then they

come to the conclusion that Schiffman has done these

terribie things, and he loses his job because he's a

 

 

 

 

 
 

 

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plagiarist - - -

JUDGE RIVERA: But what you're saying is
the person admits to the plagiarism?

MR. KUBY: Pardon me?

JUDGE RIVERA: You're saying through the e-

mail that he's admitting to the plagiarism - - -

MR. KUBY: Well - - - well - - -
JUDGE RIVERA: - - - which is different

from someone - - —-

MR. KUBY: Right.

JUDGE RIVERA: - -— - simply claiming the
person is a plagiarist.

MR. KUBY: How is that any different from -
- - from Tucker Carlson sending cut his e-mail under
the name Keith Olbermann, and sending out something

that actually sounds like Keith Olbermann, only a

little crazier than Keith actually is, and - - -
JUDGE RIVERA: Se - - - so - - -
MR. KUBY: - - - and people say, wow, he's

really nuts. And - - -

JUDGE RIVERA: So apparently - - -
apparently to the research assistants they thought it
was the professor.

MR. KUBY: Well, one —- - - yeah, that's

right. One student thought it was the professor and

 

 

 
 

 

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came up to Professor Schiffman and in substance said,
don't worry, Professor Schiffman; your - - - your
history of plagiarism and your desire to conceal is
safe with me. That's - - ~-

JUDGE SMITH: But you're - - - you're - - -
is it - - - is it necessary to your argument that
Schiffman's in fact guilty of the - - - of the crime
that - - - that your - - - you know, your client had
him admit to or used his name to admit to?

MR. KUBY: It - - - it is not, although
frankly, it's - - - it's helpful, but it's not
necessary. Los Angeles Times - - -

JUDGE SMITH: But it could be - - - it
could be - - - he - - - he - - - he could have done
the - - - he could have admitted that he's, you know,
that he's an assassin, that ne's a thief. And you -
- - are you saying that's because the statute doesn't
cover it, or because it's constitutionally protected?

MR. KUBY: I'm saying that the statute
doesn't cover it on vagueness grounds. The statute
doesn't cover it, because the statute has never been
read to cover that. And as to whether you ultimately
could criminalize conduct that you have not yet
criminalized in the State of New York, I will go in

the same direction as the Skiiling Court. I'm not

 

 

 

 
 

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going to start to define with precision when
intangible harm crosses the line into vagueness. All
I will say is that - - - that as in Skilling, if - -
-~ if your definition of harm or benefit is anything,
psychic joy, savage pleasure in demolishing an
opponent in an Internet argument, that goes way too
far. Now - - -

JUDGE SMITH: What the stat - - - what the
statute says is the person is guilty of "oriminal
impersonation when he impersonates another and
doesn't act in such assumed character with intent to
obtain a benefit or to injure or defraud another.”

MR. KUBY: That's right.

JUDGE SMITH: It sounds —- -— - sounds like
it describes what your guy did.

MR. KUBY: Well, it does. As long as you
want to define benefit or harm to be anything.

JUDGE SMITH: Well, I was actually defining
the word “injure”. I mean, isn't - - - I mean, isn't
- - - isn't injuring Schiffman exactly what your guy
was trying to do?

MR. KUBY: Well, I would maintain that what
my guy was trying to do was expose Schiffman for the
mendacious plagiarist that he was. Now — - -

JUDGE SMITH: Okay. Okay, okay - - -

 

 

 
 

 

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MR. KUBY: Now, obviously Schiffman sees it
differently.

JUDGE SMITH: Okay, but the jury did not
seem to agree with you.

MR. KUBY: Right. Well, the Jury wasn't
given the opportunity to consider that question - - -

JUDGE RIVERA: And he did it by
impersonating him, as opposed to simply saying, he's
mendacious.

MR. KUBY: That's right.

JUDGE RIVERA: Right?

MR. KUBY: That's right. But how is this
any different from the impersonations that are done
of Cormac McCarthy to the Koch brothers, from Sarah
Palin to the mayor of Paris.

JUDGE SMITH: No, no, but wait a minute.
No, but - - - I mean, if - - - because nobody - - -
because everybody knows that Tina Fey isn't Sarah
Palin.

MR. KUBY: I'm not talking about that. The
New York Times was fooled enough by a tweet from
Sarah Palin that they published it. Governor Scott
Walker actually thought he was talking with David
Koch when the radio host impersonated him.

JUDGE SMITH: But why - - - why - - - why

 

 

 

 
 

 

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should - - - why should we assume that the people who
- - - whe pulled those little capers are not
punishable?

MR. KUBY: Well, if you're going to assume
that, in fact, all of these people are publishable
(sic), including the Republican Party, which opened
up eighteen websites in the names of democratic
candidates who they wished to attack, you're
attracted - - - wow, it's Nancy Pelosi. I'm a Nancy
Pelosi supporter. I click on and I read all kinds of
things I didn't know about Nancy Pelosi.

JUDGE SMITH: Okay, but if - - - yeah - - -
well, wait - - -

MR. KUBY: If - - - if those prosecutions
are going to go forward, then Mr. Rivellese should do
them.

JUDGE SMITH: Wait a minute. Wait a
Minute. They - - - yeah, those - - -

MR. KUBY: Do something useful.

JUDGE SMITH: Yeah, there might be a
problem there, but - - - but you don’t go to that - -
- the Nancy Pelosi, then you don't see Nancy Pelosi
confessing all her sins on that website.

MR. KUBY: Oh, say - - - I actually didn't

click on. Let's say you do. Nancy Pelosi confesses,

 

 

 

 
 

 

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yes, I'm destroying America through Obamacare. Yes,
I have. I have handed over the reigns of power toa
Kenyan-born Muslim - - -

JUDGE SMITH: And - - - and - - - and - - -

MR. KUBY: - -~ - who wants to destroy
America. Then they get prosecuted?

JUDGE SMITH: And you say that I - - - I,
the Republican Party, am entitled to do that? That's
legal?

MR. KUBY: I'm sorry, Judge?

JUDGE SMITH: You say that the people who
put up a website like that are entitled to do it?

MR. KUBY: Well, you know what? Nobody,
nobody has prosecuted them yet, and I suspect that
it's not going to happen from this side of the table,
nor is Tucker Carlson going to get prosecuted. The
person - - - as with all broad sincerest power, the
people who get prosecuted are not the people who have
power who can push back. They're the nerds and the
dweebs.

JUDGE GRAFFEO: So what - - - so what - - -
what are you asking us to define - - -

MR. KUBY: The dissidents.

JUDGE GRAFFEO: - - - as to when the line

is crossed between civil or criminal liability in

 

 

 
 

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these cases?

MR. KUBY: Well - - -

JUDGE GRAFFEO: What are you - —- -— what are
you suggesting we say?

MR. KUBY: What I'm suggesting you say - -

JUDGE GRAFFEO: I presume you're not going
to - - - you don't expect us to say there's never any
eriminal - - -

MR. KUBY: Nope.

JUDGE GRAFFEO: - - - liability.

MR. KUBY: Nope. I'm suggesting that you
do exactly the same thing that the Skilling Court
said, which is, based - - - he essentially, based on
our case law, we have authorized the prosecutions for
property, pecuniary interests, and also defrauding
the government, obtaining government benefits. So
even intangible benefits like liberty, but - - -

CHIEF JUDGE LIPPMAN: But does annoying
behavior, obnoxious behavior, never can cross over
the line into criminal behavior?

MR. KUBY: Well, obnoxious behavior, as
such, intent to annoy, intent to be obnoxious, that
in and of itself, cannot be criminalized - - -

JUDGE SMITH: You're now ~ - — you're now

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on the harassment charge, I think. The - - - the - -
- I think the Chief's - - - the Chief's question
really is - - -

MR. KUBY: Yes, I think that's right.

JUDGE SMITH: Yeah, spend a minute on - - -
spend a minute on the harassment charge.

MR. KUBY: That's right. And if we want to
- - - and I do want to go to that, because Judge
Berkman was extremely careful to make sure she
imposed a jail sentence for each, and every conviction
to make sure that, even if I won ninety percent of
this case, this guy was still going to do some time
at Rikers Island.

So I do want to address that, and in

Dupont, Smith, Bethea, Dietze, they all say, okay,

you can convict somebody for alarming and annoying a
person as long as the way you anar - ~ ~ alarm and
annoy them is within one of the five areas that have
no First Amendment protection. And —- —- —- and what
the People have carved cut here is they've said, this
is invasion of privacy in an essentially intolerable
way. You have no privacy right to - - -
JUDGE SMITH: But even - - - even if

they're right, isn't there a rather serious

overbreadth problem with the statute.

 

 

 

 
 

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MR. KUBY: Completely. If it's interpreted
this way, which is why it is always been cabined by

every court to consider it.

JUDGE SMITH: In the time you don't have
left, do the - - - do the computer fraud prosecution.

MR. KUBY: Simply stated - - - I mean,
first and foremost, this is - - - this is Drew all

over again, except instead of a Terms of Service
Agreement, it's an agreement between NYU.

Not only would no one have a clue, that by
violating the computer policy, they're committing an
independent crime, the only subsection in - - - in
that policy itself that makes independent reference
to criminal liability is subsection C, I believe,
which has nothing to do with what Mr. Golb did. If
has everything to do with giving other people who
aren't authorized to be at NYU access to the
computer.

in addition, the other question, which we
will not address right now, unless you want to ask me
some questions, is the very notion that somehow
acting in excess of authorization means acting
without authorization. And so far, the consensus of
opinion around the country construing statutes very

much like this, is, no, we really don't want to go

 

 

 

 

 
 

 

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there.

JUDGE SMITH: That's - - - that's what
you're not going to say, right?

MR. KUBY: That's what I didn't say, yeah,
thank you.

CHIEF JUDGE LIPPMAN: But we'll ask you
more questions.

MR. KUBY: Oh, good.

CHIEF JUDGE LIPPMAN: Let's - - - let's get
to your adversary.

MR. RIVELLESHE: May it please the court,
I'm Vincent Rivellese for the Manhattan District
Attorney.

CHIEF JUDGE LIPPMAN: Start with the
aggravated harassment. What's that about? Can you ~-

MR. RIVELLESE: Well, well - - -

CHIEF JUDGE LIPPMAN: Is this aggravated
harassment or is this just annoying behavior?

MR. RIVELLESE: Well, it's both, that's for
sure. What's the - - -

CHIEF JUDGE LIPPMAN: Well, but is it
technically a crime? Can it be in this kind of - - -

MR. RIVELLESE: Yes.

CHIEF JUDGE LIPPMAN: Isn't that a little

 

 

 

 
 

 

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bit overbroad?

MR. RIVELLESE: No.

CHIEF JUDGE LIPPMAN: No? Go ahead. Why
not?

MR. RIVELLESE: This - - - this is the
closest argument obviously in the case, but the
aggravated harassment involves an intent to harass,
annoy or alarm, and it's - - - it's got an intent
that's required. It's also got the likelihood of
harassing or alarming the recipients or the victims.
It's also got - - -

JUDGE SMITH: If Ff - - - if I ask you a
question that I expect to be an annoying question,
and is likely to be an annoying question, am I |
committing a misdemeanor by asking the question?

MR. RIVELLESE: No, because there's no
writing. The aggravated harassment - - -

JUDGE SMITH: Oh, but - - - oh, but if I
submitted the question in writing, it would be a
misdemeanor?

MR. RIVELLESE: Well, if - - - if you
conveyed to somebody. So if you e-mailed somebody or
you wrote a letter - - -

JUDGE SMITH: Really? Really?

MR. RIVELLESE: That's the statute - - -

 

 

 
 

 

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JUDGE SMITH: If I e-mail someone an
annoying question, I get a year?

MR. RIVELLESE: Well, it has to be likely
to annoy, harass, or alarm - - -

CHIEF JUDGE LIPPMAN: So if Judge Smith put
what he's asking you now in writing, this is a crime?

MR. RIVELLESE: I'm not annoyed. I'm not
annoyed. So I'm fine.

CHIEF JUDGE LIPPMAN: Oh, okay, you're not
annoyed. Okay. It Might have been mis - - -

JUDGE SMITH: Give me - - - give me time.

MR. RIVELLESE: The proper discussion - - -

JUDGE ABDUS-SALAAM: Counsel, is it that
subjective that the person who receives the question
has to feel that it's annoying?

MR. RIVELLESE: Well, no, it is - - - it's
reasonableness.

JUDGE ABDUS-SALAAM: It has to have an
objective right.

MR. RIVELLESE: It has to likely to harass
or alarm - - -

JUDGE PIGOTT: I read this too to mean,
it's almost Like there's a third-party one, that - -
~ that if f write to you, and - - - and say something

that harasses or annoys Judge Smith, about Judge

 

 
 

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Smith, that that's aggravated harassment, even though
I'm writing to you and he thinks it's annoying.

MR. RIVELLESE: Well, if I'm the governor
and I could fire him, that would - - - that could be
the case, but what's happening here is that he's
targeting the people that have control over his
victims - - -

JUDGE PIGOTT: But as a third - - - you're
saying there can be a third-party aggravated
harassment.

MR. RIVELLESE: Yes, if still - - - there's
still an intended victim.

JUDGE PIGOTT: Se if - - - well, that's I -
- - you get - - - you get three college kids - - -
you get some college kid who write - - - who e-mails
the girlfriend of his roommate saying, you know, he
really is a useless person. Is that aggravated
harassment with respect to the victim,
boyfriend/roommate?

MR. RIVELLESE: Yes, because it's got - - -

JUDGE PIGOTT: Really?

MR. RIVELLESE: It meets all the elements.
Tt does not require that the person that you send the
communication to is the same person that you intend

to harass, annoy and alarm. It's - - -

 

 

 

 

 
 

 

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JUDGE SMITH: Wasn't - ~ - wasn't - - -
didn't the First Department hold this - - - or at
least say in Dupont, that this statute is
unconstitutional?

MR. RIVELLESE: Well, the First
Department's decision in Dupont wasn't very clear,
because it says in the alternative a few different
things. One thing it said was that the statute did -
- - wasn't even violated at all by the conduct.
Another thing it said was that it was
unconstitutional.

JUDGE SMITH: ‘So what's - - - what's
unclear about that? It said two things in the
alternative. It sounds clear to me. And how - - -
how - - - my question is how can they then affirm a
conviction under the same statute, without even
citing Dupont?

MR. RIVELLESE: Well, Dupont is - - - if
you read Dupont closely, it's rather hard to
understand because it says things in the alternative
that don't seem consistent with each other, by saying
it's not a violation of the statute, and at the same
the statute unconstitutionally violated the
defendant's rights. It can't really be both at the

same time. But in Dupont there was no - - -

 

 

 

 

 
 

 

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JUDGE SMITH: Isn't - - ~ isn't it a little
odd to in - - - if you said, whether oddly or wrongly
or not, if you said a statute is unconstitutional,
isn't it kind of funny to enforce it in the next case
without mentioning the precedent?

MR. RIVELLESE: Well, well, in Dupont, it
was a little different, because in Dupont the
communication wasn't made from one person to another.
Tt was just a publication. So - - + so the defendant
in Dupont just published his comments that - - -
granted they were about a particular person - - - but
he wasn't conveying his writing to a person, saying
here, I'm saying this about so-and-so, or giving it
-to the person himself. He was just publishing it.

JUDGE SMITH: But why is - - - why is - - -
why 1s Dietze - - - what it is - —- - forget about
Dupont - - - why doesn't Dietze knock out this
statute? How does Dietze - - - how is the statute in
Dietze distinguishable from - - - from this one?

MR. RIVELLESE: Could Your Honor remind me.
- - - is that the speaking - - - calling the names
against the people?

JUDGE SMITH: Well, that's the case, but
they - - -

MR. RIVELLESE: Right.

 

 

 

 
 

 

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JUDGE SMITH: - - - but they - - - but I
think we - - - I thought - - - I thought we held that
statute unconstitutional, not Just - - -

MR. RIVELLESE: But that's - - - that's the
speaking of the bad words and calling names - - -

JUDGE SMITH: Yes, yes.

MR. RIVELLESE: - - - it's a different - -
- it's a different subdivision of the harassment.

JUDGE SMITH: Yes, yes, but it seems to me
that that subdivision is narrower that this one.

MR. REVELLESE: Well - - -

JUDGE SMITH: That one was overbroad. How
can this one possibly survive?

MR. RIVELLESE: Well, well, if - - - I.
guess, if you're saying that it's possible that
somebody could violate the statue in a way that would

be unconstitutional, is different from saying it was

unconstitutional as applied to this defendant - - -
JUDGE SMITH: No, this is - — — I mean,
isn't - - - when you're taiking about a First

Amendment claim, and we are, right? Isn't over - - -
isn't it - - -

MR. RIVELLESE: On the - - - on the
aggravated harassment?

JUDGE SMITH: Yes. I mean, he's - —- - he -

 

 

 
 

 

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- - as I understand it, the claim your adversary
makes is that this statute infringes on protected
rights - - - rights protected by the First Amendment.

MR. RIVELLESE: Right - - - by being too
vague in this case.

JUDGE SMITH: Or too broad.

MR. RIVELLESE: Or overbroad.

JUDGE SMITH: And then isn't - - - isn't he

- - - even assuming that his conduct could be made
criminal, in a First Amendment situation, you're
entitled to do that, aren't you? Saying the statute
is overbroad and therefore you can't enforce it, even
against the narrow category who might be - - - who it
might be legitimate to punish.

MR. RIVELLESE: Well, no, it should - - -
it has to be - - - he's not the one who can claim
that some other defendant could be violated here.
That would be the case where another defendant who's
closer to the line - - -

JUDGE SMITH: I'm - - - I'm not suggesting
to you that in the First Amendment area, that's not
the law, that the - - - that the guy who - - - that
the guy who is doing something punishable, can indeed
assert the rights of others. Do you think - - - do

you think I'm wrong about that?

 

 

 

 

 
 

 

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MR. RIVELLESE: Well, I - - - I think
you're wrong that he can say that it's
unconstitutionally overbroad, when he has clearly
fallen within the statute. He - - — because he has
clearly intended to harass, annoy or alarm. He has
clearly sent hundreds of e-mails. He has clearly
succeeded in harassing, annoying, and alarming.

JUDGE SMITH: Okay, okay, but you don't
seem to be narrowing the statute that much. I mean,
you - - - you - - - maybe I'm back where I started,
but you're really saying that any e-mail intended to
annoy somebody that succeeds is a misdemeanor.

MR. RIVELLESE: Well, it has to be
reasonably likely. The fact that it might succeed
could be unreasonable, depending on the - - -

JUDGE SMITH: Okay, any - - - any - - -
yeah, suppose - - - I can - - - J ~ - - I'm pretty
good at annoying e-mails. I could send out a lot of
e-mails that I guarantee you will be annoying. You
say everyone of those is a misdemeanor.

MR. RIVELLESE: Well, the legislature has

said so, and in this case, I would give it much more

JUDGE SMITH: And you - -— - you don't think

there's anything overbroad about that?

 

 

 

 
 

 

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MR. RIVELLESE: I think you could find a
case where it would be, I just don't think this is
that case.
JUDGE PIGOTT: Going - - - going from there

to the - - - to the other charges, I was trying to
figure out where you draw this line of the People
versus somebody, as opposed to what is civil.

And if - - - if the victims here went into
their local police station and said, you're not going

to believe this, but this is what happened to me,

would they immediately pull out some forms and start
to - - - to put together some charges, or do they
say, go fi - - - weil, go hire a lawyer. You've got

- - - you know, you got libel; you got slander; go
sue.

MR. RIVELLESE: Well, well, yeah, the
gravamen of these offenses here is that the defendant
intended to impersonate ancther person and to
convince people he was someone other than who he was,
and get reliance on that deception. Se that's the

thing that makes this different from any kind of a

civil libel case.
In a civil libel case, you - - - you can be
the person who's accusing someone else, and - - - and

you're being honest about who you are, but you can

 

 

 
 

 

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still say something bad about the person, right?
Here, you have the defendant pretending to be someone
else, getting reliance on his deception. That's the
thing that's different here than in a civil case.

JUDGE SMITH: I mean, you're talking about
the impersonation count?

MR. RIVELLESE: Well, all of the counts,
except the aggravated harassment at this point. The
identity theft - - -

JUDGE SMITH: Well, and the - - - and the -
- - and the use of the computer.

MR. RIVELLESE: Right, right. The
impersonation of the - - -

CHIEF JUDGE LIPPMAN: But most of these

Situations are not - - - are not prosecuted. What —-

MR. RIVELLESE: Well - - -
CHIEF JUDGE LIPPMAN: What is it exactly
that makes this different from all of the

circumstances your adversary mentioned that you read

about all the time? Why aren’t all those people
prosecuted?
MR. RIVELLESE: Well, those - - - those

people did not try to convince cther people that they

were someone else. So for example - - -

 

 

 
 

 

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CHIEF JUDGE LIPPMAN: Happens all the time.

JUDGE PIGOTT: They do - - - they do it on
the radio. That's what Mr. Kuby was pointing out,
where, you know, somebody's on the radio, and they
pretend to be somebody, and they're - - - you know,
they're - - - then all of a sudden it turns out not
to be true. There were a couple in Florida that did

that, ended up - - - I do think they were prosecuted

MR. RIVELLESE: Well - - -

JUDGE PIGOTT: - - — but they ended up —- -

MR. RIVELLESE: Well, it would be
prosecutable if you're actually trying to convince
people you are someone else and get reliance on that.

CHIEF JUDGE LIPPMAN: Could you do an
interview program, and you call in, and you pretend
to be someone else, do you get prosecuted?

MR. RIVELLESE: Well, you have to meet all
of the elements of the crime. You have to intend to
get people to rely on your deception, to believe that
you're the other person, and also intent to defraud.

JUDGE PIGOTT: Well, what about the poor

Republican Party that Mr. Kuby just beat up? I mean,

as that true what he said, that all of those websites

 

 

 

 
 

 

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might be criminal?

MR. RIVELLESE: But - - - but they're not
trying to convince people that they are those other
politicians. That's the whole point is that this is
- - - it's a spoof. It's a parody; it's a mockery.

JUDGE SMITH: But - - - but if they - - -
but if they were, if people are actually deceived,
you say it's punishable.

MR. RIVELLESE: It would be against the
law. The examples you gave before, if you pretend to
be a judge, or if you pretend to be a private
citizen.

CHIEF JUDGE LIPPMAN: So if you succeed,
it's punishable, but if you don't, you're okay. If
you're so bad at it, that you don't succeed - - -

MR. RIVELLESE: Well, it's your intent. ff

you're intending to convince people you're someone

else, get them to rely on it - - - it's the elements
of the crime. You intend to get - - -

CHIEF JUDGE LIPPMAN: But if you're - - -
if you're really bad at it, though, you're not going
to get prosecuted, right?

MR. RIVELLESE: If you intend, you will.

CHIEF JUDGE LIPPMAN: If you doen't succeed

~~ += if you intended, but they know who you are, so.

 

 

 

 

 
 

 

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JUDGE ABDUS~-SALAAM: Well, what about the -

MR. RIVELLESE: Well, you might just have
an attempt, because you failed, but - - - but you've
attempted the crime if you intend to convince people
you're someone else, get them to rely on that, and
then get a benefit or a harm, those are the elements
of the crime.

JUDGE ABDUS-SALAAM: Mr. Rivellese, what
about the use of the computer? Apparently Mr. Golb
was an - - - is an NYU alum, and he, you know, paid
into the Bodner (sic) library or joined, you know, a
membership group that allowed him to use the
computer, so how is the use of the computer that
apparently was permitted, how did that become a
crime?

MR. RIVELLESE: Well, the terms of use that
were found in his apartment said that he could not
commit crimes with the computers, and he also said
during his own testimony that he would assume that
you're not permitted to commit crimes on the
computers. Soa assuming that the other counts stand,
he committed crimes with the computers, and that's
why in this - - -

JUDGE RIVERA: But - - - but the question

 

 

 

 

 
 

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is, not that's a crime. He may assume that he
shouldn't do that, but he may not assume that it's
criminai to do that. I think that's the distinction
he's drawing, if I'm understanding him correctly.

MR. RIVELLESE: Well, then that goes te you

don't have to know that conduct's criminal, if you

know you're committing the conduct. So - - -
JUDGE SMITH: But is it - - - is it- --1I
mean, is it more generally - - - are you - - - is it

- - - is it a crime in New York anytime anyone
exceeds the te - - - the terms of use of his
computer? So if my - - - if I work at a place that
doesn't let me go on Facebook, and I go on Facebook,
that's a crime?

MR. RIVELLESE: I don't think that would be
a crime. — Tf - - -

JUDGE SMITH: Why not? I mean, it's a - -
- you're authorized to use this computer, but you're
not authorized to go on Facebook.

MR. RIVELLESE: Well, I think that would be

a very difficult question, but I think that once - -

JUDGE SMITH: That's why I asked it.
An annoying question.

CHIEF JUDGE LIPPMAN: Annoying, annoying.

 

 

 
 

 

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Very annoying question. Go ahead.

MR. RIVELLESE: It's possible that wouid be
a crime. It's just not what this case is about,
because this - - -

CHIEF JUDGE LIPPMAN: How could that be a
crime? That you - - - that you - - - that you don't
follow the exact - - - half the people in this - - -
three-quarters of the people in this world work in
places where they have computers and they have
policies and what they can use it for and what they
can't. And each time a person does that, it's a
crime?

MR. RIVELLESE: Well, according to the
statute, but - - -

CHIEF JUDGE LIPPMAN: If they ma - - - mean
to commit a crime? But you're saying if it's - - -
aif it's - - - if it differs from the terms of how
they're allowed to use it, it's a crime?

MR. RIVELLRSR: Well, it's the same as if
somebody doesn't give you permission to use their car
in a certain way, and you use it a certain way - - -

JUDGE SMITH: Couldn't - - - can't - - -
can't the statute be read more narrowly? A person's
"guilty of unauthorized use of a computer, when he or

she knowingly uses, caused to be used, or accesses a

 

 

 

 
 

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computer without authorization". In other words, if

you're allowed to be at the computer, it's okay, even
if you violate that terms of use. What's wrong with

that?

MR. RIVELLESE: Well, if - - - if you're
committing crimes with the computer, that should be
enough to - - -

JUDGE SMITH: Well, you - - - well, you can
be prosecuted for the crimes you're committing, but
are you committing the crime cf unauthorized use of a
computer, if, in fact, you are authorized to use the
computer?

MR. RIVELLESE: Well, if - - - if you know
that you're not authorized to use the computer
because you're using the computer to commit conduct

that you're not supposed to be using on it - - -

JUDGE SMITH: Like going on Facebook, for
example.

MR. RIVELLESE: If you knew for a fact you
weren't supposed to use a computer to do it, and you
went and did it, you'd be violating that - - - that
term.

JUDGE SMITH: I'll say a misdemeanor.
MR. RIVELLESE: But - - - but - - -

CHIEF JUDGE LIPPMAN: Counsel, but isn't

 

 

 

 
 

 

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the fact that we're going through these ~- - - these
scenarios, doesn’t it almost get to the point of
being a comedy and looking at what you're alleging
are crimes and when it is and when it isn't? Doesn't
it get to the point where it's almost, you know,

ludicrous? I mean, we're looking at this, and we're

here looking at criminal violations in the context of
the factual - - - the facts as we know it in this
case.

MR. RIVELLESE: Well, you can - - -

CHIEF JUDGE LIPPMAN: Almost ethereally
absurd, I guess, is what I'm saying.

MR. REIVELLESE: What happened here is he
really got charged with everything that he could be
alleged tc have done, whereas there was a very
central gravamen of crime, which was the
impersonating Schiffman, the stealing of Schiffman's
identity, and pretending to be - - -

CHIEF JUDGE LIPPMAN: What's the crimes
that are most defensible to you, from your point of
view? What's your strongest case against - - -

MR. RIVELLESE: Schiffman. Everything

against Schiffman, because he pretended to be him —- -

CHIEF JUDGE LIPPMAN: Everything that he

 

 

 

 
 

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had to do with Schiffman, because he was using his
name?

MR. RIVELLESE: Yes, he pretended to be
him. He convinced people he was him. He got

responses to his e-maiis, believing that they were
responding to Schiffman, not just from the students,
but also from the Provost, informing defendant that
he was going to be referred to the proceedings to
determine whether he was a plagiarist. So he got
responses indicating everyone thought he was
Schiffman.

He then continued to respond, for example,
to the students he - - - he responded back. So he
was clearly orchestrating an identity theft, having
people believe he was Schiffman, in order to get
Schiffman, either fired, uninvited to the Jewish
Museum, otherwise damage his career, and help his own
father. And that's - - - that's clearly every
element of the statute.

JUDGE GRAFFEO: That you feel is the
strongest proof on a crime in this case?

MR. RIVELLESE: Absolutely, and - - - and
Chose are the most solid and central, and then the

other ones are the ones that are tangential, and also

 

 

 

 

 
 

 

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JUDGE SMITH: And the ones - - -

JUDGE GRAFFRO: And for those crimes that
you - - - the Schiffman crimes that you've just
Mentioned, what is it that crosses the line then from
the civil to the criminal? What makes it criminal
activity? Just to focus in on those crimes.

MR. RIVELLESE: The strongest thing is that
he's trying to convince other people that he is
someone other than who he is. He's stealing the
identity of Schiffman, pretending to be him, and
getting them to rely on that, by saying.- - -

CHIEF JUDGE LIPPMAN: Counsel, what would
you advise someone who came to you? Would you advise
them to go get themselves a lawyer to sue, or would
you advise them to go to the prosecutor? In this
particular set of facts?

MR. RIVELLESE: Well - - -

CHIEF JUDGE LIPPMAN: Put - - - take off
your hat for a second, and - - -

MR. RIVELLESE: Well, given what happened
to Schiffman, the prosecutor - - - that's clearly the
central and the most - - -

CHIEF JUDGE LIPPMAN: You would clearly say
go to a prosecutor; it's a criminal offense.

MR. RIVELLESE: Yes.

 

 

 

 
 

 

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CHIEF JUDGE LIPPMAN: These are criminal
offenses.

MR. RIVELLESE: Yes. And no, it's not an
A-I felony; it's not state prison, but it's
definitely wrong. If you pretend to be someone else,
get people to believe you, and have them take actions
or expect them to take actions based on your
deception, not based on your personally saying what
you think, but pretending to be someone else, |
confessing to something that they did or did not do,
because you can't pretend to be a criminal defendant
and confess to a crime either.

You have to be honest about who you are.
That's the real gravamen of the offense. it's not
that he's aileging that someone’s a plagiarist. That
doesn't matter; he could be right abcut that. But

he's saying that Schiffman is confessing to

plagiarism and pretending that he is Schiffman
confessing. Judge Rivera mentioned that before, I
think.

If you're pretending to be someone and
confess to something that person did, that's the
dishonesty there. It's not that the person may or
may not have done the thing, it's that they didn't

really confess to it; you did.

 

 

 

 
 

 

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CHIEF JUDGE LIPPMAN: Okay, thanks,
counsel.

MR. RIVELLESE: Thank you.

CHIEF JUDGE LIPPMAN: Counsel, rebuttal?

MR. KUBY: Yes, thank you. First of all,
it is state prison. The - - - he's convicted of one

felony, the identity theft in the second degree. The

prosecution asked for one and a third to four years.
Judge - - - Justice - - - former Justice Berkman, in
her infinite kindness, only gave him six months. 6&0
we are talking state prison here.

JUDGE SMITH: Is - - ~ is six months so
very harsh for this - - - wasn't this a vicious thing

to de te try to ruin a man like this?

MR. KUBY: If - - - if you start with the
assumption that this is a good man - - -

JUDGE SMITH: Suppose - - - suppose a
mediocre man like everyone else, is it - - -

MR. KUBY: Or - - - or - - - or maybe a bad
man, telling the truth about a bad man in a specific
way, is that a bad thing to do? TI don't know. I'm
sort of okay with it. You're not. That's fine.
That's fine. But we're talking about the use of the
criminal sanction - -— —

JUDGE SMITH: I mean, if - - - if - - -

 

 

 

 
 

 

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yeah, I mean - - - I suppose, yeah.
MR. KUBY: Yeah.

JUDGE SMITH: You aren't really saying it's

okay to do it to bad people, and not good people, are
you?

MR. KUBY: Wo, IT - - - IT - - - I'm saying
that - - - that if you sat here and - - - and you

believed that in fact, Schiffman was a rank
plagiarist and had ripped off the work of many other
scholars, it would have did - - - different
atmospherics and moreover, it never would have been
brought in the first place, because - - -

JUDGE PIGOTT: Well, so, if you - - - if
you - - - if you say I'm A-Rod, and I admit that I
did drugs and I - - - you know, and I'm really sorry
about it, and I wish I could give the money back to
the Yankees, you don't see a problem with that?

MR. KUBY: Well, I - ~ — I don’t actually
see a criminal problem with that for the same reason
there's not a criminal problem here. Exactly the
same situation. Schiffman makes this confession.
What happens isn't the university fires Schiffman;
he's confessed to plagiarism. The record reveals
they said to him, hey, this looks weird; is this you?

He says, no, it's not me.

 

 

 

 

 

 
 

 

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JUDGE SMITH: But suppose he's not going to
sue - - - he - - - he - - - he did do it, I guess, to
a tenured professor. Suppose he - - - suppose he

gets mad at some poor adjunct who has to make a
living and does the same thing, shouldn't the adjunct
be protected by the criminal law?

MR. KUBY: The - - - the adjunct is - - -
is protected by the way things actually work on
Planet Earth. Nobody gets fired in - - - in the real
world based on a Gmail account, where they confess to
something that you haven't asked.

CHIEF JUDGE LIPPMAN: But is it, counsel -

JUDGE RIVERA: But is that - - - is that
what had to happen, that he would have had to have
been fired that - - - you have to actually have that
as the result?

MR. KUBY: No, neo, you don't actually have
to have that, and - - - and even - - -

JUDGE RIVERA: What if his reputation is
tarnished in the institution? Nobody actually
believes him even if he - - -

MR. KUBY: But if want to go - - -

JUDGE RIVERA: - - - he's found not guilty.

MR. KUBY: If we want to go back and

 

 

 

 

 

 
 

 

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resurrect criminal libel in the Internet era, then we
can do that. But - - - but at least, since 1965, the
law has been these types of reputational harms - - -

CHIEF JUDGE LIPPMAN: Counsel - - -

MR. KUBY: - - - are beyond the scope of
criminal law.

CHIEF JUDGE LIPPMAN: Counsel, is your
basic argument that in the practical common-sense
world, these are not crimes in the year 2014? And -
- - and if that is your argument, why is it that you
think that they've chosen to prosecute? That they
chose to prosecute the defendant?

MR. KUBY: Yes, it is my argument, Judge
Lippman. And as we say in our brief, this type of
Internet impersonation, causing people to think it's
the real person, is absolutely ubiquitous in American
public life.

CHIEF JUDGE LIPPMAN: But why - - - but why
did they choose to prosecute this?

MR. KUBY: I can give you a dehors the
record answer.

CHIEF JUDGE LIPPMAN: Go ahead.

MR. KUBY: Because according, at least, to
Larry Schiffman when he gave an interview, what

happened was, he was upset about this, and - - - and

 

 

 

 

 
 

 

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things weren't happening enough, so he contacted one
of his pals in the FBI, because he had done forensic
work for the FBI in the past.

The FBI hooked him up with the prosecutor,
and - - - and unfortunately, both Robert Morgenthau,
the former New York County District Attorney with his
long relationship to the Skirball Center, and
Lawrence Schiffman with his long relationship to the
Skirball Center, had a lot of sort of overlapping
types of relationships.

And the assumption was that this guy, who
really has no power, no authority, would just take
the plea that was offered, which is, hey, a single
misdemeanor and three years probation.

CHIEF JUDGE LIPPMAN: Okay, counsel, thank
you both.

MR. KUBY: All right.

CHIEF JUDGE LIPPMAN: Appreciate it.

(Court is adjourned)

 

 

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CERTIFICATION

I, Karen Schiffmitler, certify that the
foregoing transcript of proceedings in the Court of
Appeals of People v. Raphael Golb, No. 72, was

prepared using the required transcription equipment

 

Signature:

 

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Suite # 607

New York, NY i10040

Date: April 2, 2014

 

 

and is a true and accurate record of the proceedings.

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Exhibit B

 
 

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"UONIAJOl JO JADID)
dy} JO aouenss; ayy yo sAep (og) ALHYR UNYIM ENOD ay} ioyeq seedde
O] @IOU B UNM UGHIE]O/g JO JO@PIC) UB YIM PeAJES SOM sapUayo aft ‘DO
40 Ueedde o} payey pue UO_qIa}OJg JO JODO ay] {O BDUeNSS!
atu} O} esuodsa/ ui Weadde oy ao70U LIM PeAJES SEM FOpuayO ay, “G
UDI} Og JO
J8DIQ at} JO BQUeNSS! O} Ssucdsa Ul UNOS uj paieedde sapuayo ayy ‘e
sixe isniy Buimoyjos ay] zo Aue Oo} se asneo ajqeqoid
‘UOHDE JUSLUSIIOJUD OL} 0} JONJO LY ‘WOPJO Stf} JO BDUENSS! OL}
0} puodse/ 0} JapJO LI nod seynoiLied ay} ul s#Edde Oj ajep e& JO paL_NOU
SOM JapUayo oy] Jey] SuBeU! Ajenuassa sis ‘pseey eq oj] AyiunLicddo
UB SABY AILIOYS fim 10 peYy Sey JOPUSYO 4} Jey} jUawasnbes
JBUOIIPPe UB Sf B18] ‘UCHOAIOJY {O SI@DIO 8JB}S-fO-]NO JO asSed ay] Uf
“UONBLLUO{UI 1OULIN,
¥8aS 0] Sunoy sseuisng jeuLiou BUuLIND Japs SY] PaNssi Jey} JNOD
ayy feo ALY Boles OY) 4O SVaquual pewwoyun ‘Aressaaau pawaep
S} Yons ff ‘AyeuoRIPpY “JepJo 3yj] Jo aBpaymouy pey epuayo ay} JBYy}
AJLIGA O} LWIHDIAAUBUIE;ALUIOD 84) YS AIESSEI9U ff PUES 4aPs10 OL} JO MaUYy
SYS JO BY J! JAPUAYO GY] YSB PINOYS A3IAsaS ey} JO SsOQLAL PaLLUOYUN
‘Aoij0U DEY JOPUAYO OY7 JEY] BSNeD afqeqosd YSi}qejse 0] 4OPso ul
“OPIO BY}
UUM PaAsas AIND SEM YS JO AY aSNeIEG JO Panss! SEM JBPIO Sy] UdyM
LINO Ul ]UaSeld SBM ays 40 ay asneoeq sate ‘UONOS}OI {O JODIE
Oj {O SOUENSS! al] {0 ,@0HOU,, PeYy apuayo ay jeyy Bulmoys e ag jsnus
BOY) ‘UONOSJOIY JO JOPIC 9}8}S-J0-]NO 10 SyB[s-ul UB JOYS JO UOMBIOIA
@ JQ; ‘aaoge saBseyo jdwejuod jeuiwuio ey jo Aue aGreyo o] 4apso uf
“ajpuidoidde se “(2Gg'G1z
UOIES MET (BUSY) JdWAIUOD jeulLuUD pajyeaesbBy Jo ‘({p) 40 ‘(2) ‘{q)
LG-GLz uoqOeS MET jee) aaibap Jsily ay} Ul JOUIa}UOD jeu “(f)
OS Giz uoNIeS mez jeuag) aeasBap puodas at} Ui JoLWaIWOD BUILD
JOYUO YIM JAY JO UY SBJEYD PU JOPUELYO OY} ISOLIE JIM BOLAIOS
ey] JO SUOGWal PAalUOyUN ‘preay ag o} AyuNnuOddo ue pue 1apio
eu] JO 2d/J0U pey sapuayo Sy} Jey} pue ‘pajejoin uaag sey uOHIS}Ole
{0 J8PIQ 94} JBY] BASHA O] Osned arqeqoid $1 a18y) pue ‘(unce
8 jo aonsnf to abpnf e Aq poubis ‘pasdxXa jou at) aoef sy UO PYRBA aq
O] sseadde SSIMJeYjJO PUB ‘B/QE/JEAB Sf UONIB}OIY {O Japs) 9}B}8-JO-jNO

 

 

OC-907 loxT ampooo1g
 

 

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: 84 “Jepsi0 ay] Panss! Jey} LNDD ay} Jo ssajoseGas ‘UNOD jeuituD

6007 “AINE Vda F6P

 

CTIOHASNOH YO ATIAVA ANO NVELL THOW LVHL HAgTTSE OL ASNVO
W1avVdOdd $1 AHHH AMAHM ‘SNOILVNIIS LNIV TdNOD SSOUOS NI
“Ayua GSTs TON [LM Wa Aueureyduros yt aImjeusis pesmiey,, teu -q
‘Ayjue FO] USTs 0) WIoLAAUeUTETdui0s ysanboy “e
‘IoquIaW ppoyasnoy/A[nuEy Aq asuascid
8 JOOTJO OY] Wl PSNTUMMIOS WoNepOTA Atle Jo IOUFOUApSIU B IOJ SALE UE ye
jou saop uyora jueuTeydimoa Anus (SPI-ZIIdd) DOT ALIALLOY Ue eA 6
‘G3L905449 38 GINOHNS LSIMYY NY Jequiew proyesnoy
Aue jo Ajajes panurjuod oy} jnoge sjqnop Aue sey J9dD1LfO ue 4}
“Apapje ay} Burpnjaut
‘YSU Je og ABLE OYM Siaqualy pfoyasnoy sey} jO 9QuaeSeig “6
‘(aje ‘UOHeaxojut
foyorje 40 Brsp) JOPUaLO BY} JO ajeys jeaisAyd pue jeluayy ¥
‘sepuayo ay) Aq suodeam
0} S$8D98 40 JO AQUAaSaId ay} JO ‘SUOdeaM Jo ESN pauajesif{{ “a

 

 

“(BDUSIOIA BININY 48YjO 40 SpiorWoYy
‘APIOINS JO S]eas4) AeIZ80Sa}) JaPUAYO Sy} Aq apeus SjusWe}elS “p
"SOSSOUYM JO SJUSUIA]E]S
‘UIVOIA PUB BUBIS SY] JO SUONBAIOSGO § JBDUJO BY] “G

‘SSEGE}IEG JUaDIOU] INSEWOG JOUIDeid
ay} yénoiy} Aunbul ue jonpuoo ‘afqissod yy (aja paurejsns sauntuy
‘SIUSDIOU! ‘S}Saue sOUd) WiDIA Pue JADUBYO ay) go Asojsiy Jsed ays “e

Go

‘OL GSLLIATT LON aay Lng ‘epnyjaut

UOEIAPISUOD OjU} UAYB)] 8g 0} SsOJOBY “suequiaw pjoyasnay FTV {0
AJBYLS SY] PUB QOUS/OIA JOYLNY JO UONUAASIC OY] Ase ISOLIE UB JUeM JOU
SOP WHIAAUBUIB/CLUOD ay] Vay SUOIeiepisuca Aseuuuid 84; FLON

 

 

 

‘Salle UE aes O] JOU VOISIIap $ WITSTA oy) olidsap ‘asvo IoURSTUApsTa
EUTJSale We 3PM OF WOT aIosip sq} surejar S0Tiles of] JO Jaquet PsuliojTun
WL “pPajsaUe Iapusyjo ay] savy 01 Siem Sys 10 SY Jl WIOIA aq) Yse OU [TeYS

J0GJO ay], “ps|saUe lapulayyjo sty] eM JOU sgOp OTS JO oy yey] ‘AANeTTUT

WAO Jat] JO sIy Uo ‘sajeys AyTeolloads WOIA et] ssayun apuayjo at] iseLre
STIL SOAISS OY] JO lequIst peuLloLiun B ‘MET SINpss0lg [BUILD Iu} Jepuy) FP

“Japuazjo jsally -g

“AONASHad &. Woda AHL NI Ga LITAINOD NYSE SVH NOLLYTOIA
“V UO “ADNASadd $ WHO IO AHL AG IA Uo NI CaALLIIWNOD Naa
SVH YONVAWACSTA ANY LVHL H8nvVo a1gvdOud $i AWAHL NSH
‘UNOS JBUILULID j220] BY] asojag sapuayo ay} Buug of pawnbes ase
SDiAJAS OY] JO SUSGLOLU PaluOyUN ‘eAaMoy ‘uoNnad eB Bull Ad LnO}
Ape wi Ajuapuadapu! peesosd 0} JY Gls e SEY EYS 40 SY JEU] PESIAPE
Og fi WHOAAUBLIB/ALUOD SY} ‘UONIGJOJ JO JOPIO LINO Ajiuvey e Jo
UONE/OIA JO] @PPU! S} ISAue Ue UAaUAA ‘SISIXS aSneo aiqeqosd YotymM 40;
SSUSLO jOUILULD JUSLILIEd AUB YM Pebseyo aq OS jJIM JAPUALO GL, f
"afseyo Jduidj}u09 jeulLuO ajeudoidde ayi yum pabieyd aq jjim sapueyo

 

 

 

 

AUD) YIOA MAN Ul passagoud aq ‘sasea TTY ul ‘HM jS$eue Joy 40
SHY ‘UORIS}OJS 40 JapiQ Aue BuNejoin Jos pajsaue Ss} JepUaLo eB UBLAA

 

 

 

 

 

DINDI3IG.I 7
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S6F , s}sairy  :u0Tsag

SMOPOJ SP WISLAQueUTepdures Jaga “pT

 

“AONASAad § HHOWsdO FHL NT LON CGH LLIWIA0S

—,

NHdd SVH NOLLVIOIA ANV LVL ASfivo FTdv dOdd SI aYaHT NAHM

“Adjus USIS 100 [JIM Wyo AUeTEydaos JT .omMeUsIS pesnyjoy,, Joytq (Z)
‘AlUa YOQ'] USIs 0} waTOIAAUeUTETduOS jsanbey (T)
"SPELL aq Of [SoLIe UP JURM JOU Soop UOTAAUeUTETdOS aT) eT] OBI “q
‘Tossa1dde fearsAyd Arewud oy] sem Iopusye zejnoted
B Je] SUMMIajap O7 ALIPIQLUL JO WOTJBUTMIO1OP UI Pey[Nsel JVI} sIOIOe] “e
$0 AQUE HOT ALIALLOV Ue sxe €1

‘(fa] jyBia days Buimoyjoy FION 885) “ssequiaus

PjOYssnoy TTY JO AJAJEs ay7 PUB BOUd/OIA Suny Jo UONUaABI SY} Qe
SPeu oq O} JSE.UE Ue JUBM JOU Saop WinoiAsapueyo/jueUiE;duo0o Sif
WayM suoneepisuoa Aled ayy FS6ie UP DAYS [AS ABW JBOWO Su}
‘payseie og JOU JapUayO ol] JEU] SiSenbas WifaiAepuayoAueulejauoo
By ‘Buipaasoud jejoipnf 2 uf ajedioqued asimueujo so Ayse]

O} LOSiad B Jo SSaUBuiyim ay] UO Jsaie 0] JOU 4O JSOLIe 0} UOISIZap
easeqjouog Ajejeiedas jurejduioog yoke ajenjeag “suequieus
proyesnoy Fy Oo] Ajajes ay] pue esouayoln saypIny JO UOHUBAGIC at}

si VosseubBbe Aieuiid ay} Of UOMPPe Ul ‘SUOSIad sEYIO JSE.LIe 0] JEYJAYM
Buipioap uaym uogesepisuog Ajeuuid ay, “PaysSaue ag ejeudoldde

if Aet séqued yjog ossesbbe feaSAYC (Tew ai) SBM GYM SuiLaTejep
0) @/G2 ie GOIAJOS Ou} JO SISGUIGU PSiTOyUN DUIPUCUSes ay} a1ayM
UaAe JSYLING ‘saried yjog seve o} jnyMey oq pinom pW ossesHhbe
feasAyd Asewud ay} sem ‘auoAue ji ‘oym Sutueajep Oo} ajgeun ase
ao\/Uas ay] JO siaquiew paluwoyun Bulpuodsei ayy] PuUe SIOUBOLUOPSIL
ASUAYO AMLUE! PSBILLULWOD eAey alndsip aauajOlIA BBSeWOp Je;NoiEd eB
OQ} soipied Yjog Jey} SAaYaq O} asned ajqeuoseal $! alay] asauAA FLON

‘JSOLIY OU] [OTTO [[S

ARO 1990 JO 31] ‘poisalre oq Jou Jepuayjo yey] sjsonber unjo1jueMleTda09 J *e
“rossaldse [eoisAyd Areurrid ayy] se polyyuapt zepusyjo arn Welty -Z]
‘IostAtedns joned oy wi rayue7) “11

 

 

 

 

 

 

 

 

 

 

 

“anoge ‘(g) 1461e dajs Aq pasinbat se peaacid pue

AOSSSIBBY jeo1sAY} AJCUULig,, 84} SEM OL SLiUJajap JOU jreys Siaoyso
aayod Burpuodsas ay} jsed ay} Ul say iO Wy JSUIeBE PeTVLULUGD alo e
4Oj UORNGLISs Ul JO 0] SUOdSas LI] 1OquIaL pjoyasnou/Apuigs @ jsurebe
JOUBeWwAapSiU esuayo Ajiuse! B payyuWo2 sey ALIed aUuO aJ8uAA FLON

“Ammfur
TWO] J[ssssy IO JPasuINy JoopoId oO] AJOATsuSjop payoe UosIad Yons AML ISIS AA “P
Wepesse A[quucseal ued So1AIos ol Jo JoquIet powmoymun
OY} JEU] SOUS[OIA OYssutap Jo Arojsty Jowd e sey somred ay] fo Aue royIOT AA, “O
‘IaquisUl proysasnoy Jo ‘Aprurez ‘Awed toyjoue jsurede
Wel eINghy psdajzoi]} aAey Io Surusyeanyz] are serred oy] Jo Aue Joyoy AA “G
‘soqued stp waaajeq pie Aq pajorgur souimfur Aue jo yuayx9 sAyeseduro09 ayy, ‘F
“BLIQ}IID SULAOTOF
at] SULSpIsuoo Isle Iossaidse yeorsAyd Areroud oy ATHUapt 01 idusny “OT
LNHOTONT OLLSHWOd HTIONIS V NI FONASH ad §. HHOMAO AHL SO LO
YO NI WONVHWHCSIN FSN244O ATIF V CALLLIWINOD SVH Had Aa

 

 

 

 

 

 

OC-80T ION sImpss.01g
 

 

6007 ‘Ang Vda © O6F
‘uondeo ,suoeBbaly JO JUaLUA}E]S SWHOIA, O44] 8Ja;/dLu09 jueulejdusoo

8] GABY 0] epew aq pinoys jdwaye Aianq ‘“Jepuayogueulejduioa

, yoee JO, paiedaid ag jeys Lodey Juapiou] ONSaWwoG Pazipsepuels

aJBIS YOA May & ‘SUOHENYS jupejduioa $s0i2 Uf ALON [ros zon

 

 

‘USPLOUT SIP} SULLIAIUOS III OQ WOUsAaly IUaTOLA,
oIssmocy joMtoelg oy} Aq pojoeyuoo oq AvuI Aay] Jey] sorted Te wWI0FU]
‘qusseid Ji ‘tara jueuretduros 0} (Adoo plod) soon aotrajor A, WHsemtod pues
(Adoo yurd) proday jusprouy ONSsTO PeZIPIEPUeS 21P1S YO A MAL] ATH “9
CON “CT 129°] 0,, papmua uondes
TI S0LAINS Sy] JO Jequiat Suiodes Jo 1aquinyy XBL uesul ‘p [pos 2 ‘OL
(Cojo “1aquIMm JoyONOA ‘speLayar
‘Z'a) WONRULIOTM IaYPING UIeIGO 0] Iso FO UOYWsAslg aousforA oljssutod]
aU) JEWS 0} OTA seTETdiuos astlapy “uoday juepiouy Iyseus0¢c]
“SACN at jo Adoo jee] oy] JO TeoI ay] wo poyutid st Jas YC ToNMAASIg
a9Ua[OLA, Iyseulog jouIseId ayy Jo Jaquinu ouoyd pur sueU oy] JETP ensue “9
(ole ‘Burdeayayes
‘SoUSPIAd IsaLIe ‘3'9) ‘poaouio! Auedosd Aue pur lossorsse yeorsAyd Areurtad
at} sem Jopuoyjo Ie~moried & yey surmMalep 07 ALI[IqeUl Jo ToleUnS|ep
Tf pal[Nsel yet] SIOIOVT [[B WoTjoes ,JUapIIU] SY] JO OANCLIEN,, OY UE ISK] “4
“MUOJ UO Iaqumu gol INTYdS epnjour uns oper & oF gsuodsal ut poredoid J] ‘8
"gsnqe plo Jo woueseTle ue si Jo ‘Bora pepuedxg-pjoyssnop/ATMeE J
olies qj Jo siaquiaw saajoaut (aindstp 10 ‘Jorguoa ‘sourqinjstp ‘Woreosayye
*-3'a) JUSprour we jo pastidde Summosaq YQ oj asuodsal YOY Ul SADUe}SUT TTY
MW (1ZZE SfIC) Hodey ywapisuy opsouog POZIpAepurys eg YIOA MON aredarg “L1
“IoqLUME SsuIyOY YAOQH-17Z9-003-1 Supracid
Aq SS0LAles JOJO pu Iaj,aTs Jo AP][Iqu[TeAR JO WIOLAAURUTE[AUIOS ASIAPY 91

 

 

 

‘SH8VO TT¥ NI

WOTJIOS , WOTISIPSLING JUeLINOUOZ) - SUOTTOYac],, 94} UI paulpino se joo yore
jo asodind ayy pur wary 03 s[quyear simoo oty Jo MBIA UvUTeTdro. sstApy “CT

 

 

‘SLSIXd NOLLOIGSHI LNAYHnNONOD NAM

 

‘(aaoqge ‘(q)s udeib
-eyed aas) (9) so (fA] Q)ig-giz uoIeS Me7T jeuag ‘eeiBeg }S4lq Ot)
ul JduieIUOD peur 40. ‘(e)og-GLzZ udIIeS MET jeuad ‘eaiBaq] PUCIES
ay] Ul Jduajues jeurutn s} ebseyo sedosd ay, “wijoiagueuje;diuos
BY} 0} PENSS! UONOS}OJ JO JEP/O JUBLING B ul pepqyold Apeayjoeds
S$} UOHefOIA YONS SSTINN AONISZad YAH/SIH NI GS LLIAWOD
LON SNOLLVTOIA JG) 1S 0.Ue Le JOaYS JOUUED JO0/f0 UY ALON
Gano) TUTATTEY
= MD SUOMUNY Of - SHOHD OIA asHaffo ApiuiMj-UOU 40/Pud IA0QD ..Y,, PUD
dy SHODTUpGHS HOHiMyeg papupdxg - ployasnoR mins “¢[60 $ LL “O'll
(‘Tog Jo nes Jaya Oo} OF Avr yuEUEEydio0s
*SisTx9 monorpstn{ sazmouoo Je) un0+ [RUMMTID - weg suowmuns (Z)
ynoy) Apure.t(T)
10] WOTPIOLA astiayyjo
Apel TINY JoW¥ UNO. ATMuey ui pomryep se ‘siaquism proyssnop/AIUE ‘B

9€-80Z :0N BANpa014

 

 

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LOF s\solry = :W0T1985
youed Aq @Peus JOU Sf ISALE UP ff ‘SSURISLUNDHD Sas) BACB at} Sy
U} , Udo, SE PSSSE}I 8G {SMW LYOdaY LNIVTdMIOD 84L ALON _

(Ss rOTIBOTIApSIPAL(S) ow ee
TOHIYOL J JO Japig ue fo (sywoyeypora (Zz)
(s)Auojeg (1)
-1oy poredaid st LYOdAA LNIVIdINOD way - penbs aanosjaq youre ‘e
:,,0] peHajey iyp,, pepuua uondea wm rayug ‘oz

LeOdae INIVIGNOS Yor) {0 Uaoas , Sie]eq,

8y] Ul Papnjoul aq JSNUI UOReUILa}apP JY} Oy¥eUs OF ARHIQBU! Of} Ui
—paynses jeu} Siojoey ay} Wosses6Be jesisAyd Arewiud ay] SBM 1apuayo
YOIYM SUILLLIG]AP O] @IQGEUN B/E BDIAIS SY] JO SIOQUIAL PaLWOgUN

Bulpuodses ay} aseyM PUE SLYOdaY LNIVTdNOO asoul Jo (Z)
OM} JO UGHeJedasd sy] Buyinbas suonenys Jufe;dusoo-Ssoio Uy} FLON

 

 

 

 

 

. 1ossaidse jesisAyd Arend,
oT) 94 0] JOU PaMIULiajop sem Iepusyjo sip Jey JUSTUAIEIs B OpNPOUT [TeYys
TOSS ,,S[IF19C,, SY) pue ,[oneg,, 01 CASOTIO 2q [[eys , Jossoisse peorsAqd
Aretud,, aq} 9q 0] 10 poUTajap Japuayjo aq) o} Summeved THOT
LNIVIdINOD 201 ..lossessde jeosAyd Areurid,, at] sem Jopusyyo
otf] Jey] JUST] EIS B apNypour ‘posinbei st , lossa1sse [eorsAyd Arewid,, a7] sess
Iopuayjo Yon. sUTULISIOp 0} Jdurepe Ue sISsyAs ‘SUOTEN}Is TUTE[duUIOD-ssol0 UT “p
“IspUayo Jo (syuonvs0] ayqissod ary ‘ywoseid jou Japuayjo J] ‘9
pute ‘moo Suinssy -q
"O9]J2 Ul St UOMIA}OIg JO Jap1Cg Ue IOMay AA “e
:, STIEIAC,, SY] WI apnyauy woTss101g wf
jo Japig Ue Jo Woyelola ot] SUIpNpoU ‘woe popuedxy-ployosnopy/Ayime 7
OWES SU} JO SIOQUISM Masaoq payed ws9q sel ASNATITO we sesolye
Uta Aueutedios usm Woday jeprlouy sysamog “S"A"N otf O1 uonrppe
Up UIA AUBUTE[dtos Yoes Joy (ZST-E1Edd) LAOdAM LNIVIdWOO sederg “61
JSDIAUAS AHL AO YAWN

‘MN OOdd ONITYOdT al

‘JUSUWMUSISSE SY] SZ7TTeUT O1 Sapo
aAoqe osm pur Jayoredsiq] Ajnou ‘Z7¢-] [BUTTS LEY) sotPO se pazlIosareo
AT[ETIU sem JUSTIUSISSE Sy] J] “apos woNtsodstp Jayjo Aue idaocr TON

TT Uonseg suonesunumeg ‘wonmyer papuedxq-proyasnopyATMuey
8 SULA[OAUT Juaprour AUE aZITeLy oO] pasn oq TSM suouisodsip osayy,
poredaig WIC/LUOdaAA LNIVIdWO9 36-01 ‘P
paredarg YIC/pasayg wsalry AZ6-OT *
papunoyuparedarg Yd (Z)4106-01 4
YO ‘osuayo ue Jo [eaof ot] 0} Sst4 pou prp Yorys aindstp v 0} papuodsas
SONATAS Uf] FO JOQUISUI PSULIOJIUN Sty aIayM SQOUe]SUl aSOq] UI pesti aq 07 ATO
‘Pesalfy esueyO ON/parederg WIC (1)A06-Ol “B
‘JUIUWUEISse SZI[TRUNY 0) suOnIsOdstp apod CIPe as} ‘81

 

 

"YSiOUZ ul aj oO} ajqeun
# eBenBue Burjeads Areuitid say/siyf Ul ayim oO} wundiA ayy Moye sAemiy ~
‘SESNjAs LUNDA Sy] Ssajun ‘YsyBug ul ajiim 40 yeads oj ajqeun si :
WHOA Ht ,OAOGE SB OWES, JO ,PASNJEy,, UOCED ,JUSWIAZEIS SUINDIA, Ul aa
4U9 LON OG ‘Sajum so syeeds eys/ay abenBue; jeym Jo ssejpieBas

 

OC-On7 iOh) DIN psoO1T
6007 “ANP Vd @ 86F

uinjdiuos snoiaad ayy fo fooad sp jzoday juapiouy aysawog ay Suyuasaad
qsadin uD jsanbas pup aapuaffo ayy yyia JOVJUOD IXaU aYT UO aa1jOd ayy] JODIUOI
Of uijatagquDuio;diuoo ay) asiapy o1 81 uoyov fo asimoo pasafaid ayy jig SuOUmUNS

 

 

- JANOD JDULULID 47 07 pasiafad ag TON PINOYS Sasv2 4ouDaWApsSIY ‘suoWUMUNs
ay} fo aouuas sof ajqopipan Ssaappv 8, dapuaffo ayl aapy Isnul woIAQUDUID{duoa
AY] ‘UD SUOUMWNG - J4nOD JOUIUAD ay] OF Pasiafas SASDI UOUDIOI Wy

‘ABULONP JOLISIC] JUDISISSP DO] a[qn]IDAD paisasiv uosaad ayy TuIpavsas

paandasd s14oday juapiouy oisauog jjD ayoul [JIM 4a04{O UOuUadaLg eaUuajor4
aysawog ay} ‘pajsanbad uay4, “Juapioul ayy O1 spansas ul paiwdaid poday juapjouy
ausauocy ayy fo Kdoo vp yim papisoid $1 Aausonpy JOldsiqy JUDISISSP ay] joy] ainsua
jenui daniffo Burjsacip ay) ‘paizeffe s1 wadin up ff “equasinozo fo joujoasd ay] 1D
PaUIpjujoW aq jsnu pub ‘oLAajDUL OLIDSOY jolyuajod aip ‘sjioday juaprouy Jusewuwocy

‘potas fo joutadd ay}

1 pays aq jpias (anjq) Adoo awoydnp ayi pun sauoyziad ay] a) uaard aq jjtm (ayy)
Ados jourii0 ayy ~s2uffo Cuositadns p a1ofag of utoms 1aBuo] ou Si yf “ulsof a7 uo
_suondna 778 Buyajduos 2aifo FOIAMAS TVNOSUAd TO LNFWNLLV ES 3) uss
[}IA pausaquo? daquiau pauiofiun eyt “(€$I-097Gd) FIIAURS TFNOSUAd AO
INFNALEIS aiodaad jim aoiuas ay} fo siaquau pauuiofiun ‘uoiijad 410 ‘suowuns
‘uoyoaj01g {0 tapig uD ym Juapuodsa. D acias 07 dauonuad p Aq paysanbad aap

OYyMm aoiduas ay] fo S4aquiaw pautiofiun fq seounsvaddD Linod CipssazaUun PIOAD OF

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OY] {O BAB Alf] Ul P9JB90f UOHOJS GINJULD 9QUE/OIA JSAWOP By] YM
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woisse/Buysoue ay} Aq aseqejeq ojoyg jeybig eauajol, oSeLWOg

 

4 OU; papeojdn aq jsnur sojoyd jeyBip aouajoin ayseuiog ALON

 

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YAN AIO GANSISSYV /AZDA4O ONLLSAYYY /MADAAO ONISSAIONd LSAYUAV

‘Hoday JuIpPHU] Isao

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JO JUSUID}15,, STP Salerduo0o wMo1A aq) Joye poystdaroo si jzedayy

JWaplUy IsauOg 33815 YOR MAN] OY] JO ,.WONd9G OJOUY,, 94) Jey) amsuq

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yoyd feybi[p aouajojn OASAaWIOp JAYONOA oO} pasn aq 4eBUo] OU IM
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ay O71 SOJOYd joIAIP jsoYy/poO[dH Oo} aridcias ayy fo Sdaquaw patuofiUun
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-uoUu) Ano] 1194] fo pua ay] 0] 401d 40 (aduapina jsaiiD) SuIssazo0ad jS3LiD
SULIND asDguinp ay] OFT DaatuDd ay) wioal sojoyd aaduajoia aysauop dup pooj;dn
LISA saaoifo paudissp/duysatip ‘adofaiayy, Sojoyd jorsip aouajoja ausauiop
Maid AyUuDpsul UD? ao 5, AeUdONP J14ISIG] ay] 1D jouuosiad ‘papuojdn
aug “WarIsdS ay} 0) SSA200 UID O}] pasn aq PnoYs , WFOAC,, Péomsspd
josdaniun ayy “paomssod anbiun p asinbed jou saop aspquing ojoy joudiy
BOUBIOLA DijSawUOG ay ojui Sojoyd poUIp aouazoia aysawuop fo suippojdn ayy

Vivd IVYNOLLIGGY

 

‘aseqejeg oj0Yd jeyhig
ASUSjOIA IHSeWIOg Sy} uf suOndeD AdNo90 0} sajsuey Ayeoyeuojne
HIM SOTO 2Y} Ul PeujejUOD UOHEUOJU! ‘Paso S9UQ ALON

(SOTO) Warshg qure[dareD aur] uo amp
Ur pozleuy useq sey LHOdAA LNIWIdINOD of Jaye sojoyd Teysrp sop “QT
“AIESSO0OT Sv SOLON [E]GIP SAE] PUL SUANSIA YIM dn-Mo[jo} WOE ¢]
/ ‘AIBSSOVOU SE Use] SIA DOUATOLA
ONsoWOp IoT sojoyd [eySrp oy] JEM) UTeyI9 aye Oy AflEp asequieg COT
JeaSIq sous[OLA oysamog aq) pur ‘smowud [Yoda LNIVTAWOD
pezTeuly ‘sjroday JUapHuUy] IWsaurIOg SAN] Poye[duros ye MOTASY “pT
4391340 NOILNSAAYd ADNATONIA SILSAWOG
*Woday JMeplouy IQsourogd SAN 2 0}
} Woeye pure singesy [Leuquiny] ou) Suisn (s)oseu oy} to Adoo (T) 9u0 yULTY “¢]
‘oTqpononid se OOS se IA\SAs S1y OFUI porayna
pue poureyqo st Jaquinu (7sT-EFEdd) LHOdTA LNIVIAINOD op smsuy “71
“pa}oayza st jsaue JI idiacor SUMMUITMOS ASTON Y IOLWIsI] JURIsIsSy
aly JO swWeU sy pug ‘seseun a1] Supeojdn IJssyjo jo Jsquinu xe} pue
omen ‘sojoyd ayy BUDTE) 199T]Jo oy] JO 1OQUINU xe] pUe sUTEU ‘UsyE) sojoyd
jey81p Jo Joqumu ‘ou ‘yep Suyearpur ATO HOT ALIALLOV Ue SW ‘TI
SOIAYSS AHL AO YASWIW GAWYOSINN

Al-ONn7 DON TM Tet Oa yw TTS al oD ee On-Aase-on MUI oP oe aaa TAIT SAT DT AAT

 

 

 

 
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106 sjsalry ‘mOnI9g

(CO/S-TZZE SIIG) Moday juapiouy aysawog aNIg yO, May
(IFT-1Z7§Ad) ADIOANI S.A) ALATAONT

oe  - -ES TET ED LHOGEREENTV EHO ——-

(WEST-EIEGd) LHAHSNUOM LAOdTa ENIFIdWOD
(SPI-TIIGD) DOT ALIALLOF

$L¢0d3u UNV SWHOS

 

(LE-RO7 Dd) aansag

ay] Jo siaquiapy pauuofiuy Sutdjoauy aousjo14g oysewog pup sasuaf{g Apuun.z
(FO-812 ‘D'd) aanpacoig josauan — Auadoig supaoauy

(QE-90Z ‘D'd) aouajoly aysatuogysasuafiO Aymuun.y

S2undyzI0dd GaLlV Tze

 

. ‘sopoyd
[ASIP souspolA oyssurop Jo Zumpeordn pue Saryze} au} ul peurey Apoedoid are
PULMIUIOD S17] O} POUSTsse SotAIOS SU JO SIOQMISUT pousOjTUN [Je yw smsugq ‘ZZ
LNV49YaS ONINIVAL
“Aressa00U WayAs WONOe DANOILION SARL “[Z
‘qeuidoidde se ‘sisaygyo Sumpuodsar ysny Aq seisures
[EIISIP SOUS[OLA ONsoWIOp TA Usyze] Fujoq are sojoyd [esp ym amsuq ‘oz
ANVS94Y3S JONATOIA DILSSWOG
“IadT]Jo Ysep stp AoW ‘arqeradont Jo ysoy “Furseru
are uauidtnbe payepar/seseuus sousjora onsetop Aue ‘uoysedsul uodn jy‘e
‘asEqEIed
OJOYY [NBIC] ssUsaOLA StsoMIOC] IY) OV popeordn om sojoyd [je Wey pue
Ayiqeiado omsua 0] Aep Wed SPISWLS [CUSIP SOTSTOLA SISSULOp [Je 19edsT] “67
4331440 NOLLNSASYd SJDN3ITOIA SILSSWO0
“BIAS [RVISIP SOUSTOIA
OTSOULOp B SUNLINGSI IO INO Busts Vays ANUS BO] pueun087 & axe ‘81
YOSIAMAdNS WOULVd

 

, AladolY Juawipedag
HEYL 40 SSO, ‘02-6LZ °D ‘of Aq papin6 aq ‘peleacasip si juauidinba
BLED BoUa/OIA oBSaWaAp AUP JO otf} 10 SSof oy) ‘UORSadsut Burinp J}

"‘Plosay suoydeja, ay] u) ape ag iM SuUOITBOYNOU Ssay} jo Aqua
f YUN) aouajolA SEUWIOG ay] PUe £/>9-019-(9rG) 1© ySseq dja
SIA 94) {feo Ajopeipeuuy jim JE0IyO YSEep Sy} ‘ajqesadouypa/qesip
woa.aqg sapise! uoKels ainjdes eiaueo jeybip ey? asaym sajnduioo
7 JEU} JUBAS ayy Uf “a/gissod Se uUOOS SB eo at) LUNJa fim jauUOSIed
f} GQuajolA DYSaWwOg ‘“sunoYy aoljo-uOU BuLnp yo] eq ysniu abessai
‘IBAGMCH “SANOY OOS) PUB O090 Udaamjeq Aepiy yBnoy) Aepuoy
dO SI HUN) aouafOIA ONSaWOG SY, “OL8S-01L9-9F9 Je HUN soUsfolA
sowog 347 Ayjou Ajajerpeuiiuy yur se0yfO ysap ey] ‘ejqesedout
' O} PUNO a7e jueLIdiNbe payejeiseiauleo ‘voyoedsul Buunp ff} ALON

 

 

 

6t-ROT AOINY IOWL Yd SAI¥ TAMSIN dS735 80-07-50 GANSSI 41 HHONHO ATSINI
 

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e007 ‘AIng Vad @ ad-305

yuerg yoXT A]jeuonuszU] svg siz,

 

AF-RN7 AMIN TOT PA Oe LIDS CT RILICN ES Oneh7-Cn JTAINCST PT womens ranma Tart
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“MOIAQI
Joy J99YTO Ysap sy) 01 Wey) juaseid pue Ados sejnduzos pue Adoo prey yoeny ‘¢
‘Adoa Jamndiies ino yuad pure wraysAg asequyeq souajol A,
. ONSeWIO-SY] OU. eday 4 uaplupoysaulog oy) Woy UOlBULIOjUI Iw tp

MY319 GNVAWOS
‘WSISAG BSEQEIEC SoUSTOIA D1IsAUIOG ay} OUT
odey JUaP PU] Dysawog oy) Woy VOTEULIOJU JoyUS 0} yJE19 pueUUIOD FDAIIG “£

. ‘USIS pue ssougqordmo0s pue AdeInaoe
y yomiaded payelas Aue pur yroday yuaplouy aysaniog Jo Ados piey malaoy “Z

YAdIds0 HSA

 

‘ON “CT H3DIFIO, P2Ry} xog ul daquinu xe} ssaayio Buloday -6
fSAQeLUeU UP UONELUOLUT
pue eweu spnjau! esimigyjo ‘smoye eoeds ff! awWeU 0] 1XeU
p/00ad) paajoAur SuOssed jo See pue saquinU AyUNDES jeI90g *
(uaye} yy) sojoud yo saquinu seyono, ‘e
UORDS}OlY JO 18PUC JO Jaqunu Jaysoq pue NED ‘Pp
Ajuo ajndsip jequa, ‘9
PSAJOALT DHOQIEN) “Gg
PaAJOAU! JOYOIy 'e
ANSGION FAL AO FALLVYYYN 94] ul papiojal pue paajoau!
‘S}uosIed Sy) WIOL pepioe oq 0} S{ UoNTeUUOjU! Buimoyo, ay} ‘asojeuey ft
WS]SAS aseqejeq souajoi, BjSSwog ey} Ul PB}I9{jOI Si yey}
YOHBUHOJU! JUauIped ulepad 10; suddeo aaey jou seop (Lzze-Sraq)
Moday JUap/Iu] JNSAWOg aJEIS WIOA MON JUSuND aYyL JLON

 

 

| “a0yJo ysap 01 ['919 (6ST-FPZAd) LUTHSMYOM
LSM V WELSAS ONDICOd ANI NO (97S1-FOedd) LAAHSHUOM

LAOdTA GAAIV ‘(ZsT-El€Ad) LUOdAY LNIV Td AOD] yoauaded
poyejsr Aue pue ylodey yuaplouy sysamog jo Adoo prey uwang |

ADIAUSAS SHL 40 HSGW3W OGSWeOsINN
twaysdg asequied

SoUS[OIA BNSSMIOG MAU OY} OU! ([ZZE-SLIq) joday yeprauy aysawi0g
SEIS YOR MAN USLNo/sed s,puUeUNIIOS B MIO] UOTRWWOUI SuLsyua JaAgUay AA

ayuNda30ud

"SOSBO SOUATOIA INSSWIOp JO SISATeue pur ‘FuLo}uSw “Furyoey sy} sacrdur oF,

asOdund

 

 

 

 

ASVAVLV FONTIOIA DILSAAOG
AHL NI SLYOdTa LNAGIONI QLLSAAOG
ALVIS NUOA MAN dO DNISSTOOUd

‘O7-E0 AATIY oe OL-R0Z iON a1npaso1g
 

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wees ee ee YZ

‘JUSWASIOPUS IoJ 1OsTAIadns sdUaTOIA ONSatlIOp 10
J90T]J0 YSep 9} 01 yorq JAoday yuaplauy sysemeg ay jo saidos yjoq pleMIO, ‘T]
sacdayy

soo JROPPU] Isat0g oy} oO} 6 doys ul post-saymburqjeyo-snowiid youny -v

‘pasuaunuos ore Asy} Yor Ul ano} 6y) 3uyinp
paja[duios aye Japuaygo ay Surpseses sarinbut saynduros |] yeyi amsuq ‘g|

 

‘URIS MOAB Loday

JUEpIoU] BBSauwsog yj so suolded ajeuidosdde ay} ojuG palajua

9q 1M ‘USOTO}] warsks jurejdwon eur7 uQ) Auojsiy jure;diuioa pue
‘(fSayg] wejsks uoisodsig juswubleuy Buyjoog) Arojsiy jsaue pue
snjejs uonegoid ‘uoyoajaid jo suepio Bujuseauoa sauinbut (NIGSAN)
HOMJON UOBPEUUOJU] BQO S]e}S OA Man ey; JO Snsey BLON

 

 

 

AOISIY BOUS[OIA SAWIOGg] = *J
SMYEIS JOJE[OLA SAIODICU posse, “8
AJONSTY ISIAIPIOAI [BUI = “p
snjejs Wuadsasussl| un ‘3
STES PIED UOMESYSeAU] «= “q
AIO|sIY JUBITE AA
UOIBULOFU

Jopuajjo SuIMO[]O} SY} Joy WaysAg ssequyeq aoud[OIlA sysewWOc] sy Aisne 6
‘aseqeiep uo ‘oyeudoidde sv ‘sioquinu -

MAU IEIOUSS JO SIAGUINU JOpUAJJO JO/PUL WIJOIA pausisse A[snotaaid ULeIGO ‘g

YSMIIAAY GALVNDISAG /3adI4d0 SONIATOIA DILSSWOd

a

‘JOMBIAD! PI}LUSTSIP/I9I JO
SOUS[OIA OTSAMOP S,PURUILIOD ay) 01 saidoo yjoq puemsog-/
‘ssoualo[duios
pug Aseimooe Joy Adoo prey oxy 0} eredtuo2 pue Ado ssyndwios mataay “9

Y30ldd0 MSa0

‘OS OP O} S/GENEAB JOU S! JBOLYO BOUAJOIA BNSALUOD

S,PUBWWUOD 34) JaAdUSYM SjuapIOUl OBSaWOp Eulodai sjueuje;duiod ul
“JEM JOj Oday Juapiouj ayseiuog e aredald jim yaj9 PUeLUUIOD ay f
‘UONBUUOLUI

Sid] YUM pele}ue-e1 pue G3aGiOA 3g LSTiA HW ‘siequinu aseyj jnoyyim
BSEEIEP SY] O}U) Pasajue Si Lioday Juaplous 2sewog e jeYy) JUBA
OY] Uj Jaye Padaujal Jo palajua og TON NWO Pue ujalay) Paurezu09
UOREUUOJUT SHUI} DUB SUIaISAS JOYJO OY} O} YU SUaqUNU asey).aoUIs
odas juepiouy oysewiog ey} Jo Aqua ay} 0} JOLid peule}go ale siaguunu
asay} Jey] aAeiedus Si y) yoday juaplous aNsewog sy) so Adoa prey
84} Uo SJaquunu eyelidoldde jje piodau jim YIajo PUeULUGD OYy{ “Wajs<S
OSEGE}EY GouajolA IYSaWOg oy} Oj) Bep oy) Buuelwe OL YOld
(a8 ‘papty ‘SO7O) swia}sds sajndwoo ayeudosdde J8yJO ay} WoL
S/@qLUNU UIE]GO PUB SUOda/ Pajeosse je 18}Ua JSNLU YIajO PUeUILUOD
ay} ‘sue}sAs so]nduWiOD payuy ‘Mau JO VOReTUaWwadU! ay] UUAA SLON

 

 

 

 

 

Of-807 ON ainpso01g
 

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“BOIYO s,ASWIONY JONJsIG oY] 0} 9seyed IsoMe SU}
‘Uy (s)p1odeyy yuapiauy ansawiog pue sisal yooyD aureu sip pueMIOY “OZ
‘(s\yodey jwaplouy
aTsemog poredoid Ajsnojasid ay) pur usalos ynsel ayy No Wg “eB
"S889 JSOLIE SOUATOIA JSAOp
2 UW) WITIDTA pue Jopuazzo ayy JO ,,JOOUD OWEN JEqo}D,, B aaTdWOD “6]

g331dd0 ONISSAIOUd LSawaV

“WaIsAg ssEqelEq saualoLA asaWod
OY] OUI VSO GOUS[OIA OIJSAWIOP psaposas Aue Jo snyes Fursops oseo Jou” “ST

YASWAW GYNDOS SAILOFLa0 LONIDSed

‘ys Aysuadoig YSIp] SpueLUWCD aU} 0} Slapuayjo sacwal
pue ppe Oo} VOLUN , JapuayTO Ajisuedory USIP, ssoindwies sy) sz “LT

‘odsy JUIPIANY aysawMOg ay) OF poyeyss (979 ‘UOQBUOJUI

JPUCHIPpE ‘s}oeWOS ouOT ‘syISTA SWIOY JO SI[NSsl “3*9) UOTEULIOFOT MoU
JayUS 0} ,, DOROUNy spusuOS dn-mO]][O],, MOLA/Ppe s,sayndwios ay) azq[4 9]

“YSp ot}

J@ PUE dOIJO SdUd{O1A, SISsUIOG 21) UI XOpUy ay Jo Adoo v ureWUTE] “e

‘ABP snolaaid oy] paiayue

sLoday JUapIUy WsaMI0 Bp} [2 Loy ,Woday snyerg-Arond soue[orA,
oNsowoc,, §Janduos ay) SuIZIpHN Xapuy JWaplouy saysawoq e yep eredaig ‘¢]

YAdIIO NOLLNAASYd SONATOIA DLLSSANOO

“1O.IS UL JO ApJ391I09U]
paisa as0u) pue sjioday yuspyuy sysem0g ayeordnp Aue plon ‘PI

 

‘Gan09 Aau) jBy] Sjouloaud ely UIYJIM SINdoO jueplour ey) Pue

‘ySa @ Aq paiedaud jf pasndaes jou Si sapjoj SIU{) |, SYIG PUBWIWOD JO
10, ‘POVeuW FEP/OF afi & Ul DeUTejUTeEWW aq iM jeulbuo ay ft ‘eoueN|[0
JO jouldaud Sy} O] Paxes oq USL} iM Podey Juapsous aysawog

ay} JO Adoo prey ay, TYOdaTe JO GNVWNOO au} Aq pazyeuy

PUR PEeMmalAsu ‘pelajua aq Jsniu JONANYUNDOO AO LONIOFYd ve}
3Y)0 pUeLULUOD eB Aq pasedaud Lioday Juapiauj aysawog Auy FLON

 

 

 

‘JZoday WAP UT 9ysaw0eg Jo Adoo pozijyeuy jug “ev

“THAISAS SSECEIEC] SOUS[OIA SYSOMIOG SU] OI] Yt SUTIOWIE Aqosoy) jz0day
JOApPouy jsaulog yIea azipeuly oO} UOT}OUN} To usts AToslAsadns a1p ezt]UN “£1

“pajoyduioa aye

aonb Japuaygo Alessacau oy] pue syloday wuaplauy sysawog [ye yey einsuyq
‘uso1s ATRTUUMS JoNdWUO> JAodayy JWSPIIUT ISAO SI) MOIATY *Z]

YOSIAHSdNS ADNAIONIA DILSAWOO/3AIIAAO MS30
OL-ROZ ON dinpas01g

 
 

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Ce Bn ee ARTE SLD Godoy raptor onsamog-a1njg y4oX Max--——
(6SI-beZUd) LFTHSYYOM ISTAAV NTLSAS ONIVOOT INTINO

(2SI-STEd) LHOdAY LNIVTAWOD
(92ST-208dd) LHAWSYUOM LHOdTa GAGIV

SLivOday ONY SWYOF

 

(6£-807 Dd) (Gtadodg

pasounqysatanfuy ajgisi, Burydp.s8ojoy g) ausjor4 asauogyasuagiC (iu 7
(LE-80Z Od) aaissag ayy JO
Sdaquiayy UDIPIAID 40 pausofiuy Butdjoauy aouajo14 2ysawog pun sasuaffo Aquos
(9£-802 ‘D'd) douazoly ousawmocysasuaf(y Aiwp.y

(62-202 ‘Dd) 400iff) uoyuaaaag aousjot4 o1seIuOry

SauNGzIONd GALV ize

 

‘(Buisoja aspa aayjoajap 40

Sejou d201ffo aouazolA DuSauOp apnjIus jou Sep Sty) —pamoyo aq [jim suoyworfipou
Ou “waIsSdG asDqujog aauajoty 2sauog ayy OJu) Caua tof oday Juapiouy onsau0g
D pazijouif spy dostadadns aouajota aysawopsaeoifo ysap D adu0 ‘MqpDUOINppy

‘suOuDIIfIpowu aYDlu 0} pajiuiiad $1 aouadingI0
fo joursaid ay) wow tostatadns p quo ‘ueciffo aouajoia sNsatuop ay] Aq pamataas
5} j40day Juapiauy aysamoOg ay) pur zaquinu poruanhas 0 sansst waxsts ay? BIUQ)

PAPO 4aSMO.1g 4210}dxy jouLaIUy aADY JDYL SUOLIDISYAOM (NWT) YAOmjau Da.o
[290] wo wajsdy asoquing aouajor{ ajseu0g ay} Ss200D JIM spuDunUuOC?

‘UOISIAIG Suiajsdg uounw4ofuy juswasounpy

3Yi OF paudissy aaotffo jo.ajuos Ayasaqur ays Aq paqaizon-a4 ag sn spsowssod
Peyonas danamoy -utajsds ay} 0) ssaa0n sapiaoad 4aoiffo joaguoa AyaSaput
S,PUDUUOD ay] ‘SpsoMssDd NST") BuIsn pajjo4sjudd $1 puy s4asn pazisoyino

0} Pant] SI 55299b ‘uolmudafiul asoqnjod ay] fo ainjou daljisuas ay] G] ancy

‘ajdiadoadda so 'ySg

Suisnoy 40 asua.inoo0 fo joutsaad ays fo Aupqisuodsad ay] ag yim uonndysaaut
dn-moyof ayy poday juaprouy onsautog ay) fo uoNOZYDUL pup Matdad “Ci1ue
biDp ay} dof ajqisuodses aq Ip1M ‘Walsdy asvqujwg aouszol4 qnsaWOg ay} 0} S8ag90
adpYy oym (ofa 'jouuosded nvaang Suisnopy ‘3'1) aouasinao0 fo yoursasd UDYT AaYyto
Spunusuoo o} paudtssp saaoiffo Aq paindasd ain joys sraoday juapyouy osauog

VLVO TVNOlLiaay
‘oqelidordde asaya Uooe SANDeLIOS OYE], “B
‘SSEQEIEC SI OJ! polayya sjucday juaprouy aysowog
PEPIOA jTe JO JSI] B “sIseq A[YJUOW e uO UrEIMIEW pue “MaIAdI Ug “¢Z
"PUBMIWIOS st} O} Pausisse sudsn pazoyINe Jo ysl eB UIEIUTeEW] “Zz
-aqetidoidde
se Jaynduos 3yj Jo suoydo siojensturpe ayy Surzipin wisyshg osEqeieq
SOUDOLA, IFSOMUOCT SY] 0} SS9998 DOLAISS SY} JO SIOQUIAW IPIADIg “IZ

4331440 TOYLNOD ALIMSSLNI ONVAWOD
OL-80Z iON aIMpoI041g

 
sucHeisdg pusmuloy = :nenIag

QVAHAALLAT CadAL

' (S#I-CIEGd) DOT ALIALLOV
SL1WO0d3u GNY SWHYO4

(60-2IZ ‘Di d) Sioday aatia.incog jonsnup

we i nna ce ee ee ce es LOGOUT DG) auripan0d gf pOsBUAD) ~ SuOUMUNg BuLyaDg ~~~

Sayndsz204d G3aLV Ise

‘jUapiIoul

IYDUWOIdIP D pasapisuod TON Si uoypjora panzoy Ajafps v aof sajojd asuaaty

wiMSuO),, PUD , joumodiq,, dutsvag epoiyad v uodn paond suoununs Buryaod y

‘S]d0da4 [DUT SD 4OULIDUL BUDS By Ut

papapaiof pup paandaid ag jim suoutsodsip joutf Suipnjout sjaodaa uanbasqng

ViVd TYNOLIGGY
"slo /suioda1 pammnbas ssasoid pues MoTASY eT

HY331sd0 MHSAd
“UoTET SSA] jo Team yersp3J Pp
aq219 JO Jusunedacy sayeqg pay ‘3
sdiog) JeINsuOZ) PUB SUOFEN Pom, SP JO} WOISSTLUTOD Af) YO X MON “q
SUOWEN PIUUL) SY) 0} UOTSSTIA] SAIEIS pay ‘e
10} ‘oyelidordde jr radar Jo Adas (1) suo preas0y “ZZ
YSEWSW NOLSIAIC SONSSIMISLNI
“SJUSPIOU SMOLIas-UOU UT JOsTAIedns [oned sy) Aq Usye] SUOIIe MALADY “TZ
NIVLdV¥O ALNGMHACNVAWOD LONIDAYd
‘SITYEU SNOlses-u0u B FO
SI JUOPIOU! USM ‘UsyR] SUOCTIOE Jo Ule}des Anp/IspuRUIUOS youLseId ATHON "7

 

 

 

 

“Iapurgq ysap 1ourseid ul Adoo ysey OIF 2
TOMaIC seydoo (Z) om - WOIsIATC] souesI]]O}U] q
TOdaIC Adoo (1) avo - poneg Jo Jaro e

20] PIeEMIOJ pues ‘anew soles B JO S] JUSPIOUI UsyM ‘peaysee] padAy,
WO UOHLENSeAUl JO s][Nsor Suiwasu0s yodad Jo saidos (fp) noy aredaig *6[
“SMOLIOS-UOU JO SNOLSS JUAPIOUl JSTPSIYAs STROIPUL - WOISTAIC] SOUSSE|SIUT *D
PsWIssuES Soo ysnolog joueg “gq
Nup suoyeiedG *B
10] UoHessaauy AeutuNoid Jo synser suoyde|s] 8]
‘Ayessooal SE UONPSISOATT [BUCLIPpe ONpUOS ‘Usye] ADEOIE SUOTIOR MATASY “Z[
vosiueans joued ayy Ag
pejebyseaul 6q ifm eunjeu smoues-uoU B JO SJuapiou; “aunjeu SsnoLies
JO S$} JUBDIOU! By) # JOSIEdNS jayed ay] Jo SayNp ay] UUOLEd jim OYM
'eydeo ANpepuewwos jouroeud ayy A{HOU jiIM J0ILO YSOP OY, FJLON
“Ja0gJO Ysep yUTOsd 07 usyEy suCTIOR LOday ‘oy
‘WUSPISUl Jo sasuEsunos9 Aq pounbel se wonse eIpPauMUl aye T ‘sT
"SITYEL SNOLISS-UOU IG SMOLIES B YO S] JUSPIOUI JI SUILLAJE ‘P|
“SOSSOUIM MOTAIOJUL PUL TUOPLOU sJBSYSSAU] "ET
YOSIAMAdNS 1Odel¥d
‘TONPSYssAu] JO neamg jelspeJ ‘p
aye}s Jo justwpeda sayelg psy 2
sdiog JeINSUOD ple SUOTEN, PAU) Sup OF VOISSMUTOD AUD AOA MON“
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CHAWHS SI NOLISSLOWd AO HAC AI
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JO/PUE FDIAYAS TWNOSH3d SO LNAWSLVLS 34) ‘YBnol0g
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VIVO TYNOILIGdY

 

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